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                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE NORTHERN DISTRICT OF OHIO
                                  EASTERN DIVISION



IN RE NATIONAL PRESCRIPTION                        MDL No. 2804
OPIATE LITIGATION
                                                   Case No. 17-md-2804
This document relates to:
West Boca Medical Center, Inc. v.                  Hon. Dan Aaron Polster
AmerisourceBergen Drug Corp., et al.,
No. 18-op-45530



                      MANUFACTURER DEFENDANTS’ JOINT
                    MOTION TO DISMISS PLAINTIFF’S COMPLAINT


       Pursuant to Rule 12(b)(6) of the Federal Rules of Civil Procedure, the Manufacturer

Defendants1 move this Court to dismiss all claims asserted against them in Plaintiff’s Complaint

for failure to state a claim upon which relief can be granted. This Motion will be supported by

the pleadings, the record, a Memorandum of Law in Support of the Manufacturer Defendants’

Joint Motion to Dismiss Plaintiffs’ Complaint, which is filed contemporaneously herewith and

incorporated herein by reference, oral argument, and any other evidence requested or permitted

by the Court.




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         This motion incorporates the definition of “Manufacturer Defendants” set forth in the
Summit MTD at 1 n.2. Defendant Noramco, Inc. (“Noramco”), a company referenced in the
Complaint as a former affiliate of Janssen (see Compl. ¶ 98), joins in this Motion to the extent
applicable. Noramco does not (and did not at all material times relevant hereto) manufacture,
package, brand, market, distribute, or sell the finished drug products at issue in this litigation, and
it reserves all rights and defenses specific to it. In addition, although the arguments raised herein
apply equally to Teva Pharmaceutical Industries Ltd., Allergan plc, and Mallinckrodt plc, these
parties do not join this Motion for the same reasons stated in the Summit MTD at 1 n.2.
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       WHEREFORE, the Manufacturer Defendants respectfully request that the Court grant

their Motion in its entirety and dismiss all of Plaintiff’s claims against them with prejudice.

Dated: June 29, 2018                          Respectfully submitted,

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                                CERTIFICATE OF SERVICE

       I hereby certify that on June 29, 2018, a copy of the foregoing Manufacturer Defendants’

Joint Motion to Dismiss Plaintiffs’ Complaint was filed electronically. Notice of this filing will

be sent to all parties by operation of the Court’s electronic filing system. Parties may access this

filing through the Court’s system.


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